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        ORDERED in the Southern District of Florida on April 16, 2019.




                                                                       Laurel M. Isicoff
                                                                       Chief United States Bankruptcy Judge
_____________________________________________________________________________
                                       UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA

        In re:                                                                    CASE NO.: 18-11021-LMI
        Felix Alberto Martinez                                                    CHAPTER 13

                                Debtor(s) /

            ORDER SUSTAINING OBJECTION TO CLAIM #3-1 FILED BY OBJECTION TO
                           CLAIM OF DITECH FINANCIAL, LLC

                 THIS CASE came on to be heard on May 8, 2018 on the Debtor’s Objection to Claim of

        Ditech Financial, LLC (DE#26), and based upon the record, it is:

                 ORDERED as follows:

            1.        The Debtor’s Objection to Claim #3-1 is SUSTAINED.

            2.        That Claim #3-1 is ALLOWED and shall not receive any payments from the

                      Chapter 13 Estate.

                                                                 (###)
        Submitted By:
        Law Offices of Patrick L Cordero, Esq.
        Attorney for Debtor(s).
        7333 Coral Way
        Miami, Florida 33155
        Tel: (305) 445-4855
               /s/ (FILED CM/ECF)
        PATRICK L. CORDERO, ESQ.
        FL Bar No. 801992
        Patrick L. Cordero, Esquire is directed to furnish a conformed copy of this order to all interested parties.
